               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION


RHONDA BURNETT, JEROD BREIT,
HOLLEE ELLIS, FRANCES HARVEY, and
JEREMY KEEL, on behalf of themselves and
all others similarly situated,

                    Plaintiffs,
       v.                                  Case No. 19-CV-00332-SRB

THE NATIONAL ASSOCIATION OF
REALTORS, REALOGY HOLDINGS
CORP., HOMESERVICES OF AMERICA,
INC., BHH AFFILIATES, LLC, HSF
AFFILIATES, LLC, RE/MAX LLC, and
KELLER WILLIAMS REALTY, INC.,

                    Defendants.


      PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES, COSTS, AND EXPENSES
        REGARDING THE NAR AND HOMESERVICES SETTLEMENTS AND
                   SUGGESTIONS IN SUPPORT THEREOF




                                  i
      Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 1 of 18
                                             INTRODUCTION

        After years of hard-fought litigation in multiple lawsuits, Plaintiffs have achieved proposed

nationwide settlements now totaling at least $998.375 million1 in monetary relief, in addition to

significant groundbreaking changes in the real estate marketplace that will provide very substantial

benefits to millions of Americans in the future. These include settlements with the Anywhere,

RE/MAX, and Keller Williams defendants that this Court finally approved in this case2 settlements

with nine defendant families that this Court preliminarily approved in Gibson,3 and settlements

with NAR and the HomeServices defendants that this Court has also preliminarily approved.4

        Through this motion, Plaintiffs seek attorneys’ fees of one-third of the $679.275 million

obtained for the class pursuant to the NAR and HomeServices settlements and recovery of certain

case costs and expenses. 5 Plaintiffs’ final approval motion for the NAR and HomeServices

Settlements will be heard on November 26, 2024.6 As with the other settlements that Plaintiffs

have obtained, the $679.275 million case settlement funds created by the NAR and HomeServices

settlements are non-reversionary. To achieve this result, Class Counsel worked intensively for

more than five years in Moehrl, Burnett, Umpa, and Gibson (“the litigation”). Class Counsel faced

substantial risk representing the Settlement Classes. They worked on a fully contingent basis,

investing over 107,500 hours of labor through August 31, 2024, and advancing over $16 million




1
  The NAR settlement includes a mechanism for the further benefit to the class for multiple listing services and
brokerages to “opt in” to the settlement, including by making additional settlement payments beyond the $418 million
to be paid by NAR. To date, additional settlement amounts of $11.275 million have been reached with several other
opt in settlements awaiting signature. Thus, the Settlement Fund will continue to grow.
2
  See Doc. 1487.
3
  See Gibson Docs. 163, 297, 348.
4
  See Doc. 1460; 1520.
5
  As discussed in note 1, additional settlements under to the NAR Settlement have been reached with opt in brokers
and MLSs in the amount of $11.275 million in additional relief; Plaintiffs anticipate this number to grow modestly.
Plaintiffs are entitled to one-third of the increased fund. See Declaration of Professor Robert Klonoff (“Klonoff
Decl.”), Exhibit 1 at pg. 1, n 2. This motion applies to any such additional amounts.
6
  See Docs. 1460-61, 1520.


                                   1
        Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 2 of 18
in out-of-pocket costs and expenses without any guarantee of success. They did so despite this

litigation having no pre-ordained path to a recovery. Indeed, Class Counsel faced well-funded and

entrenched opponents represented by at least thirty of the most prominent defense firms in the

country.

        Class Counsel are a diverse group of well-respected antitrust, complex litigation, and trial

lawyers who spearheaded the litigation. In doing so, Class Counsel did not have the benefit of any

governmental prosecutions or preexisting litigation brought by other private attorneys. These

settlements are the independent product of Class Counsel’s wholly contingent, risky, costly, and

time-intensive work seeking relief for the classes they represent against well-resourced

Defendants.

        This Circuit’s precedent applied to the facts here support Class Counsel’s requests for

attorneys’ fees representing one-third of the settlement funds and for reimbursement of case costs

and expenses. In the Eighth Circuit, a fee based on a percentage of the fund recovered is the favored

approach for calculating attorney’s fees in contingent representation, including class actions. The

percentage of the fund approach aligns Class Counsel’s interests with those of the class because

the greater the recovery Class Counsel obtains, the greater the fee to which Class Counsel is

entitled. As courts have recognized, it incentivizes counsel to continue pursuing additional claims

beneficial to the class even where, as here, counsel have already obtained substantial recoveries

for the class.

        For these reasons, Class Counsel respectfully request that the Court approve a fee of one-

third of the settlement funds and reimbursement of current expenses in the amount of

$16,528,352.83 that have not already been reimbursed in connection with prior settlements.




                                   2
        Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 3 of 18
                                       FACTUAL BACKGROUND

        The background of the litigation and settlements is well-known to the Court and is

described in Plaintiffs’ motions for preliminary settlement approval. See Docs. 1192 (Anywhere

and RE/MAX); 1371 (Keller Williams); 1458 (NAR); 1518 (HomeServices). The settlements are

non-reversionary, meaning the entire amount is for the benefit of the class and upon approval no

amount will revert to the Settling Defendants regardless of the claims submitted. Moreover, the

settlements include landmark practice change relief – including the elimination of the Mandatory

Offer of Compensation Rule. To achieve these results for the Class, Class Counsel devoted more

than 107,500 hours of work through August 31, 2024, and advanced over $16 million of their own

money to pay for necessary costs and expenses on behalf of the class. Counsel continues to work

on behalf of the Class even after achieving these settlements.

        I.       CLASS COUNSEL PERFORMED EXTRAORDINARY WORK AND
                 ASSUMED SIGNIFICANT RISK ON A CONTINGENT BASIS ON BEHALF
                 OF THE SETTLEMENT CLASS TO OBTAIN THE SETTLEMENTS.

        Plaintiffs allege that the National Association of Realtors and other entities agreed to

engage in anticompetitive conduct that had the effect of inflating real estate broker commissions,

including by following and enforcing NAR’s Mandatory Offer of Compensation Rule and

associated restraints promulgated by NAR and its members. Many of these Defendants, including

NAR and HomeServices fought the litigation at every conceivable step. 7 To date, Defendants in

the litigation have been represented by at least thirty defense firms – including many of the most

highly-regarded firms in the world. Dirks Decl. at ¶ 13. These firms have extensively litigated the



7
  See generally Declaration of Eric L. Dirks (“Dirks Decl.”) for an overview of the procedural history and efforts to
reach the Settlements. Attached as Ex. 2. Also attached are the declarations of Michael S. Ketchmark (Ex. 3), Brandon
J.B. Boulware (Ex. 4), Steve W. Berman (Ex. 5), Marc M. Seltzer (Ex. 6), Robert A. Braun (Ex. 7), Daniel Hedlund
(Ex. 8), George Farah (Ex. 9), Benjamin Elga (Ex. 10), Vildan Teske (Ex. 11), Russell Marsh (Ex. 12). These
declarations cover many of the same topics set out in the Dirks Decl. as well as each firm’s individual lodestar and
expense amounts.


                                   3
        Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 4 of 18
cases, filing jurisdictional challenges, motions to compel arbitration, motions to dismiss, Daubert

motions, challenges to class certification, summary judgment motions, several appeals, and—in

the case of Keller Williams, NAR and HomeServices—even through verdict in a jury trial. Id. at

¶¶ 14, 20.

         Moreover, in undertaking this substantial commitment on behalf of the Class, Class

Counsel assumed significant risk. There was no roadmap of previous cases or settlements, and no

assistance from governmental entities or regulators through parallel litigation. Id. at ¶ 17. Despite

the long odds they faced, Class Counsel achieved remarkable success. They obtained favorable

rulings on key issues including on class certification, summary judgment, and Daubert. Id. at ¶¶

14, 20. However, these successes required years of briefing, reviewing and analyzing millions of

pages of documents, retention of at least 20 experts and consultants, and conducting approximately

180 depositions to achieve this result. Id. at ¶ 15-16. These efforts are etched in the litigation.

Burnett, Moehrl, Umpa, and Gibson have over 2,400 docket entries as of the date of this filing.8

                                                 ARGUMENT

         I.       THE REQUESTED ATTORNEYS’ FEES ARE REASONABLE UNDER
                  THE FACTS AND CIRCUMSTANCES PRESENTED HERE.

         Under well-established Eighth Circuit law, a fee equal to one-third of the settlement funds

should be approved.




8
  Moreover, Plaintiffs’ Counsel did not stop with their trial victory in Burnett. They worked to maximize the recovery
for the Class by filing the Gibson and Umpa complaints against additional Defendants. The Moehrl and Burnett actions
originally included claims against five defendant families on behalf of home sellers who listed their properties on 24
covered MLSs. The Gibson case, by named Plaintiffs Don Gibson, Lauren Criss, John Meiners, and Daniel Umpa,
advances similar claims against additional Defendants on behalf of a nationwide class of home sellers.



                                    4
         Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 5 of 18
                 A.      Contingent Fees Are Awarded Using the Percentage of the Fund
                         Approach.

        Courts typically use the “percentage-of-the-fund method” to award attorneys’ fees from a

common fund. See, e.g., Rawa v. Monsanto Co., 934 F.3d 862, 870 (8th Cir. 2019). “In the Eighth

Circuit, use of a percentage method of awarding attorney fees in a common-fund case is not only

approved, but also ‘well established,’” In re Xcel Energy, Inc., Sec., Derivative & “ERISA” Litig.,

364 F. Supp. 2d 980, 991 (D. Minn. 2005) (quoting Petrovic v. Amoco Oil Co., 200 F.3d 1140,

1157 (8th Cir. 1999)), or even “preferable,’” Barfield v. Sho-Me Power Elec. Co-op., No. 11-CV-

4321, 2015 WL 3460346, at *3 (W.D. Mo. June 1, 2015) (quoting West v. PSS World Med., Inc.,

No. 13-CV-574, 2014 WL 1648741, at *1 (E.D. Mo. Apr. 24, 2014)). The percentage method

aligns the interests of the attorneys and the class members by incentivizing counsel to maximize

the class’s recovery. See Johnston v. Comerica Mortg. Corp., 83 F.3d 241, 245 (8th Cir. 1996)

(“[T]he Task Force [established by the Third Circuit] recommended that the percentage of the

benefit method be employed in common fund situations.”) (citing Court Awarded Attorneys Fees,

Report of the Third Circuit Task Force, 108 F.R.D. 237, 255 (3rd Cir. 1985)).9 The Court should

therefore use the percentage approach to award fees in this case.

                 B.      A Fee Equal to One-Third of the Fund is Reasonable.

        This Court and other courts within the Eighth Circuit confirm that one-third of the common

fund is an appropriate amount for class counsels’ fees in complex class actions, including antitrust

litigation. Eighth Circuit and Missouri courts “have frequently awarded attorney fees between

twenty-five and thirty-six percent of a common fund in other class actions.” Huyer v. Buckley, 849




9
  In contrast, undue focus on hours or hourly rates “creates an unanticipated disincentive to early settlements,
tempts lawyers to run up their hours, and compels district courts to engage in a gimlet-eyed review of line-item
fee audits.” Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 121 (2d Cir. 2005) (cleaned up).


                                   5
        Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 6 of 18
F.3d 395, 399 (8th Cir. 2017) (quoting In re Xcel, 364 F. Supp. 2d at 998); see also Rawa, 934

F.3d at 870 (“courts have frequently awarded attorneys’ fees ranging up to 36% in class actions”)

(quoting Huyer, 849 F.3d at 399); Yarrington v. Solvay Pharm., Inc., 697 F. Supp. 2d 1057, 1064

(D. Minn. 2010) (holding fee award of 33% reasonable); In re U.S. Bancorp Litig., 291 F.3d 1035,

1038 (8th Cir. 2002) (affirming fee award representing 36% of the settlement fund as reasonable));

In re Xcel, 364 F.Supp.2d at 998 (collecting cases demonstrating that district courts routinely

approve fee awards between 25% and 36%).

       Just recently, this Court approved one-third of the fund in a settlement valued at $325

million. See Rogowski v. State Farm Life Ins. Co., No. 22-CV-203, 2023 WL 5125113, *4-5 (W.D.

Mo. April 18, 2023). Thus, judges in the Western District of Missouri and the Eighth Circuit often

apply the one-third-of-the-fund fee calculation, even to large settlements.

       In doing so, courts typically consider some or all of the relevant factors listed in Johnson

v. Georgia Highway Express, Inc., 488 F.2d 714, 717–19 (5th Cir. 1974). See In re Target Corp.

Customer Data Security Breach Litig., 892 F.3d 968, 977 (8th Cir. 2018). The Johnson factors are:

       (1) the time and labor required; (2) the novelty and difficulty of the questions; (3)
       the skill requisite to perform the legal service properly; (4) the preclusion of
       employment by the attorney due to acceptance of the case; (5) the customary fee;
       (6) whether the fee is fixed or contingent; (7) time limitations imposed by the client
       or the circumstances; (8) the amount involved and the results obtained; (9) the
       experience, reputation, and ability of the attorneys; (10) the “undesirability” of the
       case; (11) the nature and length of the professional relationship with the client; and
       (12) awards in similar cases.

In re Target, 892 F.3d at 977 n.7. To be sure, “[m]any of the Johnson factors are related to one

another and lend themselves to being analyzed in tandem.” Swinton v. SquareTrade, Inc., 454 F.

Supp. 3d 848, 886 (S.D. Iowa 2020). Therefore, courts in the Eighth Circuit often focus on the

most relevant Johnson factors in evaluating fee requests. See Huyer, 849 F.3d at 398–400

(affirming trial court’s award of one-third of the common fund after review of Johnson factors 1-



                                  6
       Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 7 of 18
5 only); In re Xcel, 364 F. Supp. 2d at 993; Tussey v. ABB, Inc., No. 06-CV-4305, 2019 WL

3859763, at *2 (W.D. Mo. Aug. 16, 2019); Yarrington, 697 F. Supp. 2d at 1062; Hardman v. Bd.

of Educ. of Dollarway, Arkansas Sch. Dist., 714 F.2d 823, 825 (8th Cir. 1983). The Johnson factors

favor Plaintiffs request here, as Prof. Klonoff has explained. See, e.g., Klonoff Decl., Exhibit 1 at

¶¶ 24, 34, 39.

                 1. Class Counsel worked on a contingent basis, despite the numerous risks
                    and time commitments. (Factors 1, 4, 6-7 and 10)

       Here, Class Counsel’s time and labor invested was substantial and necessarily precluded

other work. Dirks Decl. at ¶¶ 17-18. Prosecuting the litigation required over $92 million in lodestar

through August 31, 2024. Dirks Decl. at ¶ 42. In addition to the substantial number of hours it took

to reach the Settlements, Class Counsel were also required to advance $16,528,352.83 of their own

money toward the litigation through August 31, 2024, with more bills coming due every day. Dirks

Decl. at ¶ 47. All that work, which precluded other less-risky employment, was the result of Class

Counsels’ efforts undertaken without any guarantee of payment. Moreover, the litigation faced

low odds of early settlements because they challenged practices that were central to the real estate

brokerage industry. See, e.g., How the $1.8 Billion Real-Estate Commissions Lawsuit Came to Be,

Wall Street Journal, November 26, 2023 (“Antitrust cases almost always settle before trial, giving

attorneys some assurance they will get paid something. But in this case, the damages were so high

and the threat to the industry so existential that plaintiff attorneys thought it unlikely NAR would

settle.”). Indeed, from the outset, NAR adamantly insisted that the cases were “baseless.” See, e.g.,

Realtor Group Moves to Dismiss Class Action Lawsuit Alleging Collusion, Forbes, May 21, 2019

(“According to John Smaby, president of NAR, all three claims have no merit. ‘In today’s complex

real estate environment, REALTORS and Multiple Listing Services promote a pro-consumer, pro-

competitive market for home buyers and sellers, contrary to the baseless claims of these class



                                  7
       Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 8 of 18
action attorneys,’ he said. ‘Our filing today shows the lawsuit is wrong on the facts, wrong on the

economics and wrong on the law.’”).

        “Courts have recognized that the risk of receiving little or no recovery is a major factor in

awarding attorney fees.” Yarrington, 697 F. Supp. 2d at 1062 (quoting In re Xcel, 364 F. Supp. 2d

at 994); Theodore Eisenberg & Geoffrey Miller, Attorney Fees In Class Action Settlements: An

Empirical Study, 1 J. Emp. L. Studies 27, 27, 38 (2004) (“Fees are also correlated with risk: the

presence of high risk is associated with a higher fee, while low-risk cases generate lower fees . . . .

[This] is widely accepted in the literature.”). “Unless that risk is compensated with a commensurate

award, no firm, no matter how large or well-financed, will have the incentive to consider pursuing

a case such as this.” Tussey, 2019 WL 3859763, at *3. “Courts agree that a larger fee is appropriate

in contingent matters where payment depends on the attorney’s success.” Been v. O.K. Industries,

Inc., No. 02-CV-285, 2011 WL 4478766, at *9 (E.D. Okla. Aug. 16, 2011). And critically, “[t]he

risks plaintiffs’ counsel faced must be assessed as they existed in the morning of the action, not in

light of the settlement ultimately achieved at the end of the day.” In re Xcel, 364 F. Supp. 2d at

994.

        This was among the riskiest litigation Class Counsel have ever prosecuted, due to the

possibility of no recovery, the scale of the litigation, the deeply embedded nature of the practices

and issue, and the investment of time and money required to pursue the litigation and reach

settlements or other judgment against well-resourced defendants. Dirks Decl. at ¶ 22; see also

Caligiuri v. Symantec Corp., 855 F.3d 860, 866 (8th Cir. 2017) (affirming fee award where lower

court reasoned, in part, that “[p]laintiffs’ counsel, in taking this case on a contingent fee basis, was

exposed to significant risk”); In re Equifax Inc. Customer Data Sec. Breach Litig., No. 17-md-

2800, 2020 WL 256132, at *33 (N.D. Ga. Mar. 17, 2020) (“This action was prosecuted on a




                                   8
        Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 9 of 18
contingent basis and thus a larger fee is justified.”). And that risk continued to grow throughout

the years of litigation through trial, with every hour of work and every dollar of expenses

compounding the risk to Class Counsels’ investment. Dirks Decl. at ¶ 22. The riskiness of the

litigation is also confirmed by dearth of similar cases filed by other attorneys until after the Burnett

trial verdict and the actions by attorneys in the few cases that were filed to “slow-walk” them

(thereby avoiding a significant investment on their part) pending the outcome of the litigation. In

sum, “the extraordinary level of work and result achieved here in the face of enormous risk

warrants a substantial fee percentage.” Klonoff Decl. at ¶ 88.

                  2. The claims were difficult to prosecute. (Factor 2)

         Because antitrust claims are especially complex, expensive, and difficult to prosecute,

courts have recognized that antitrust settlements attorneys’ fees equal to one-third of the fund are

often appropriate in antitrust suits. See In re Peanut Farmers Antitrust Litig., No. 19-CV-00463,

2021 WL 9494033, at *6 (E.D. Va. Aug. 10, 2021) (“[A]n award of one-third is also common in

antitrust class actions.”) (citing cases); 10 In re Urethane Antitrust Litig., No. 04-CV-1616, 2016

WL 4060156, at *5 (D. Kan. July 29, 2016) (awarding one-third of $835 million settlement, noting

“a one-third fee is customary”); In re Flonase Antitrust Litig., 291 F.R.D. 93, 100, 106 (E.D. Pa.

2013) (awarding one-third of the settlement fund as attorneys’ fees in which court relied upon the

fact that class counsel had litigated a number of hotly contested Daubert challenges). See also

Klonoff Decl. at ¶¶ 41.

         Here it is undeniable that the antitrust claims at issue in the litigation were challenging to

prosecute. As the Court knows, no stone has been left unturned by numerous Defendants, including




10
  And observing that “[o]ther courts have determined that a higher percentage rate is appropriate where discovery has
been completed and the case is ready for trial.” Id.


                                    9
        Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 10 of 18
NAR and HomeServices, and challenges have been made to Plaintiffs’ case at every stage (i.e.

motions to dismiss, motions for summary judgment, Daubert motions, class certification, efforts

to appeal from class certification orders, appeals on arbitration issues, and trial). See Dirks Decl.

at ¶¶ 14, 20. The case also required extensive discovery, including well over 100 depositions, the

production and review of millions of pages of documents, and dozens of expert reports.

                3. Class Counsel’s reputation and skillful resolution of the litigation supports
                   the award. (Factors 3 and 9)

        Courts often judge class counsel’s skill against the “quality and vigor of opposing

counsel . . . .” In re Charter Commc’ns, Inc., MDL No. 1506 All Cases, No. 02-CV-1186, 2005

WL 4045741, at *29 (E.D. Mo. June 30, 2005) (citing In re IBP, Inc. Sec. Litig., 328 F. Supp. 2d

1056, 1064 (D.S.D. 2004)).

        Here, Class Counsel faced off against no fewer than thirty highly-respected law firms over

the course of the litigation. Dirks Decl. at ¶ 13. Although Class Counsel’s team includes some of

the country’s most accomplished class action and trial lawyers, Defendants also hired some of the

country’s most prominent defense attorneys and firms. This weighs heavily in favor of the

requested award. See Klonoff Decl. at ¶¶ 56-58.

        Class Counsel in their own right are well-known on both a national level and local level.

See generally Exhibits 2-7. Indeed, trial counsel for the Burnett case was named as the most recent

Missouri Lawyer of the Year. See Ketchmark named Lawyer of the Year, Missouri Lawyers

Weekly, December 7, 2023. And Class Counsel for the Moehrl case have been repeatedly

recognized for their skill and expertise in antitrust litigation. See, e.g., Berman Dec. at ¶ 2; Seltzer

Dec. at ¶ 3; Braun Dec. at ¶ 2.




                                  10
       Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 11 of 18
                    4. The percentage requested is supported by other awards under the facts and
                       circumstances of this litigation. (Factors 5 and 12)

           In the Eighth Circuit, courts have “frequently awarded attorneys’ fees ranging up to 36%

in class actions.” Huyer, 849 F.3d at 399.11 Courts have recognized that prosecution of antitrust

claims should result in a one-third-of-the-fund fee award. See In re Peanut Farmers, 2021 WL

9494033, at *6 (“[A]n award of one-third is also common in antitrust class actions.”) (citing cases);

In re Urethane, 2016 WL 4060156, at *5 (awarding one-third of $835 million antitrust settlement,

noting “a one-third fee is customary”).

           Moreover, the requested one-third fee award is equal to or less than what the actual named

plaintiffs—those with the most on the line and most involved in the case—agreed to at the outset

of the case. The class representatives agreed to fees between 33.3% and 35%. Dirks Decl. at ¶ 28;

Berman Dec. at ¶ 6.

           These factors also support Plaintiffs’ request. Klonoff Decl. at ¶¶ 60-61, 77-78.

                    5. The amount involved and results obtained for the Settlement Class given
                       the risks of the litigation support the percentage requested. (Factor 8)

           Here, the settlement funds are entirely in cash and non-reversionary; so, the settlements,

plus interest earned until distribution, require no further valuation. In requesting a fee as a

percentage of the funds, Class Counsel seek a fee directly proportionate to the degree of monetary

success obtained.

           Equally important, the Settlements include significant injunctive relief which requires,

among other things, for NAR to eliminate the Mandatory Offer of Compensation Rule and for

HomeServices Defendants to train their agents that commissions are negotiable. See Docs. 1458




11
     See also supra pp. 6-7.




                                      11
           Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 12 of 18
(NAR preliminary approval motion); 1518 (HomeServices preliminary approval motion). The

value of this non-monetary relief to consumers is substantial in itself and provides additional

justification for the requested fee. See Klonoff Decl. at ¶¶ 96-98; Declaration of Dr. Nicholas

Economides (“Economides Decl.”), Exhibit 13, at ¶¶ 16-17 (opining even conservatively modest

decreases in commissions will save consumers billions). See also National Association of Realtors

Verdict Will Send “Shock Waves” Through the Industry, The Wall Street Journal, November 1,

2023 (“There is no question that Tuesday’s nearly $1.8 billion verdict against the National

Association of Realtors and brokerage firms is going to send shock waves through the industry.

Commissions have stayed pretty stable at about 5% to 6% of the sales price for decades now,

despite major technological upheaval in the industry. We may finally start to see those costs for

home buyers and sellers go down quite a bit.”); Examining Some of the Big Changes Coming to

Real Estate Commissions, National Public Radio, August 16, 2024 (“Over time, home buyers and

sellers are expected to save tens of billions of dollars a year in lower commissions”) .

       This further factor supports an award of one-third of the cash portion of the settlements,

particularly given the benefits achieved. Importantly, success—including “exceptional success”—

is not measured solely by the maximum damages alleged but must be evaluated against any

“unusually difficult or risky circumstances and the size of plaintiffs’ recovery.” Allapattah Servs.,

Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 1204–05 (S.D. Fla. 2006). Here, the request is supported

by both the size of the recovery and the results obtained as compared to the risk of a lesser recovery

or none at all. And rather than stop at the Burnett and Moehrl defendants, Class Counsel continued

to prosecute joint and several liability claims against additional Defendants in Gibson and Umpa.

Thus, these and any future settlements or judgments will also benefit the Class.




                                  12
       Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 13 of 18
                 C.       The Requested Fee Is Reasonable Under a Lodestar Crosscheck.

        Although a lodestar crosscheck is “not required” in the Eighth Circuit – Keil v. Lopez, 862

F.3d 685, 701 (8th Cir. 2017); PHT Holdings II, LLC v. N. Am. Co. Life & Health Ins., 2023 WL

8522980, at *7 (S.D. Iowa Nov. 30, 2023) 12 – performing such a crosscheck here confirms that the

requested fee is reasonable and should be approved. As noted above, Class Counsel have spent

over 107,500 hours through August 31, 2024 in the litigation. These hours result in an overall

lodestar through August 31, 2024 of $92,338,583. Dirks Decl. at ¶ 42.

        In performing a lodestar crosscheck in litigation involving multiple settlements and

multiple cases, the appropriate method is to consider the “holistic approach.” See Klonoff Decl. at

¶¶ 104-09; see also In re Capacitors Antitrust Litig., 2018 WL 4790575, at *6 (N.D. Cal. Sept. 21,

2018) (“courts typically base fee awards in subsequent settlements on all work performed in the

case,” based on the reality—applicable here—that “the total work performed by counsel from

inception of the case makes each settlement possible.”); In re Automotive Parts Antitrust Litig.,

2020 WL 5653257, at *3 n.5 (E.D. Mich. Sept. 23, 2020) (“In calculating the lodestar for purposes

of the cross-check, it would be impractical to compartmentalize and isolate the work that . . . Class

Counsel did in any particular case at any particular time because all of their work assisted in

achieving all of the settlements and has provided and will continue to provide a significant benefit

to all of the . . . classes.”).

        The Court previously approved a fee of one-third of the Anywhere, RE/MAX and Keller

Williams Settlement. Burnett, 2024 WL 2842222, at *17 (W.D. Mo. May 9, 2024). When those



12
  “‘[T]o overly emphasize the amount of hours spent on a contingency fee case would penalize counsel for obtaining
an early settlement and would distort the value of the attorneys’ services.’” Rawa, 934 F.3d at 870 (quoting In re
Charter Commc’ns, 2005 WL 4045741, at *18). Cf. In re T-Mobile Customer Data Security Breach Lit., No. 23-2744,
2024 WL 3561874, at *7 (8th Cir. July 29, 2024 (observing a crosscheck is not required but can be warranted “when
a megafund case settles quickly”).


                                   13
        Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 14 of 18
prior settlements are added to the NAR, HomeServices and Gibson Settlements, the total monetary

settlement value is $998,375,000. One-third of this combined amount is $332,791,666. Thus, the

combined fee request, to date, constitutes an approximately 3.6 multiplier on their time. Such a

multiplier is well within the range of reasonableness. See Klonoff Dec. at ¶¶ 29, 122; Rawa, 934

F.3d at 870 (observing a lodestar multiplier of 5.3 is within the bounds of reasonableness); Huyer

v. Buckley, 849 F.3d 395, 399–400 (8th Cir. 2017) (observing lodestar multipliers of up to 5.6

times class counsel’s lodestar to be in the reasonable range for a lodestar crosscheck); In re T-

Mobile Customer Data Security Breach Litigation, No. 23-2744, 2024 WL 3561874, at *6 (8th

Cir. July 29, 2024) (observing that in a case that settled early in the litigation, a multiplier of 5.3

is on the “high” side of reasonableness) (citing Rawa, 934 F.3d at 870)); In re Charter Commc’ns,

Inc., Sec. Litig., No. 4:02-cv-1186-CAS, 2005 WL 4045741, at *18 (E.D. Mo. Jun. 30, 2005)

(finding 5.61 lodestar multiplier reasonable); In re Syngenta AG MIR 162 Corn Litig., 2019 WL

1274813, at *5 (D. Kan. Mar. 20, 2019) (“a multiplier of 3 is well within the range allowed in

other cases involving large settlements”). Thus, by this Court’s and the Eighth Circuit’s own

standards, Plaintiffs’ request of fees of one-third of the settlement funds is reasonable.

       II.     THE COURT SHOULD APPROVE CLASS COUNSEL’S REQUEST FOR
               REIMBURSEMENT OF REASONABLY INCURRED EXPENSES.

       “Reasonable costs and expenses incurred by an attorney who creates or preserves a

common fund are reimbursed proportionately by those class members who benefit by the

settlement.” Yarrington, 697 F. Supp. 2d at 1067 (quoting In re Media Vision Tech. Sec. Litig.,

913 F. Supp. 1362, 1366 (N.D. Cal. 1996)). Under the Settlements, Class Counsel are entitled to

recover their expenses. The costs and expenses through August 31, 2024 were reasonable and

necessary in order to reach these Settlements. Dirks Decl. ¶¶ 47-48; see also Exhibits 2-12. The

total costs associated with the litigation through August 31, 2024 is $16,528,352.83. Of this,


                                  14
       Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 15 of 18
$12,923,266.48 was already awarded by the Court in conjunction with the Anywhere, RE/MAX

and Keller Williams settlements. As a result, Plaintiffs are requesting reimbursement of the

additional expenses that have not already been awarded.13

           The largest components of these costs is for experts, depositions, class notice and

administration, mediations, and online research. See Tussey, 2019 WL 3859763, at *5

(“Reimbursable expenses include many litigation expenses beyond those narrowly defined ‘costs’

recoverable from an opposing party under Rule 54(d), and includes: expert fees; travel; long-

distance and conference telephone; postage; delivery services; and computerized legal research.”)

(citing Alba Conte, 1 Attorney Fee Awards § 2:19 (3d ed.))). All of the expenses submitted were

reasonable and necessary expenses in such a large litigation. The most significant cost since the

previous expense award relating to the Anywhere, RE/MAX and Keller Williams Settlements has

been for class notice that was mailed in the Moehrl case prior to settlements with NAR and

HomeServices. This was a reasonable and necessary expense. The Court should thus approve Class

Counsel’s expense reimbursement request to the extent the costs have not been awarded pursuant

to the prior settlements.

                                                    CONCLUSION

           Class Counsel respectfully request that the Court approve the requested fee of one-third of

the Settlement Fund and reimbursement of current expenses in the amount of $16,528,352.83 that

have not already been reimbursed in prior settlements.




13
     Plaintiffs reserve the right to update their cost totals up to the Court’s November 26, 2024 final approval hearing.


                                     15
          Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 16 of 18
Dated: September 13, 2024                     Respectfully submitted by:

COHEN MILSTEIN SELLERS &                      WILLIAMS DIRKS DAMERON LLC
TOLL PLLC
/s/ Robert A. Braun                            /s/ Eric L. Dirks
Benjamin D. Brown (pro hac vice)              Eric L. Dirks               MO # 54921
Robert A. Braun (pro hac vice)                Michael A. Williams          MO # 47538
Sabrina Merold (pro hac vice)                 Matthew L. Dameron           MO # 52093
1100 New York Ave. NW, Fifth Floor            Eric L. Dirks               MO # 54921
Washington, DC 20005                          1100 Main Street, Suite 2600
Telephone: (202) 408-4600                     Kansas City, MO 64105
bbrown@cohenmilstein.com                      Tele: (816) 945 7110
rbraun@cohenmilstein.com                      Fax: (816) 945-7118
smerold@cohenmilstein.com                     mwilliams@williamsdirks.com
Daniel Silverman (pro hac vice)               matt@williamsdirks.com
769 Centre Street                             dirks@williamsdirks.com
Suite 207
Boston, MA 02130                              BOULWARE LAW LLC
Telephone: (617) 858-1990                     Brandon J.B. Boulware        MO # 54150
dsilverman@cohenmilstein.com                  Jeremy M. Suhr                MO # 60075
                                              1600 Genessee Street, Suite 956A
HAGENS BERMAN SOBOL                           Kansas City, MO 64102
SHAPIRO LLP                                   Tele: (816) 492-2826
Steve W. Berman (pro hac vice)                Fax: (816) 492-2826
1301 Second Avenue, Suite 2000                brandon@boulware-law.com
Seattle, WA 98101                             jeremy@boulware-law.com
Telephone: (206) 623-7292
steve@hbsslaw.com                             KETCHMARK AND MCCREIGHT P.C.
                                              Michael Ketchmark          MO # 41018
Rio S. Pierce (pro hac vice)                  Scott McCreight            MO # 44002
715 Hearst Avenue, Suite 202                  11161 Overbrook Rd. Suite 210
Berkeley, CA 94710                            Leawood, Kansas 66211
Telephone: (510) 725-3000                     Tele: (913) 266-4500
riop@hbsslaw.com                              mike@ketchmclaw.com
                                              smccreight@ketchmclaw.com
Nathan Emmons (Mo. Bar. No. 70046)
Jeannie Evans (pro hac vice)
455 North Cityfront Plaza Drive, Suite 2410
Chicago, IL 60611
Telephone: (708) 628-4949
nathane@hbsslaw.com
jeannie@hbsslaw.com




                                16
     Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 17 of 18
SUSMAN GODFREY L.L.P.
Marc M. Seltzer (pro hac vice)
Steven G. Sklaver (pro hac vice)
1900 Avenue of the Stars, Suite 1400
Los Angeles, California 90067
Telephone: (310) 789-3100
mseltzer@susmangodfrey.com
ssklaver@susmangodfrey.com

Beatrice C. Franklin (pro hac vice)
One Manhattan West
New York, New York 10001
Telephone: (212) 336-8330
bfranklin@susmangodfrey.com

Matthew R. Berry (pro hac vice)
Floyd G. Short (pro hac vice)
Alexander W. Aiken (pro hac vice)
401 Union St., Suite 3000
Seattle, Washington 98101
Telephone: (206) 516-3880
mberry@susmangodfrey.com
fshort@susmangodfrey.com
aaiken@susmangodfrey.com

Attorneys for Plaintiffs and the Class




                                17
     Case 4:19-cv-00332-SRB Document 1535 Filed 09/13/24 Page 18 of 18
